USCA11 Case: 22-13135      Document: 30-1       Date Filed: 01/18/2023   Page: 1 of 21




                                   No. 22-13135




              IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCillT




  HONEYFUND.COM, INC., PRIMO TAMPA, LLC, CHEVARA ORRIN, and
 WHITESPACE CONSULTING, LLC D/B/A COLLECTIVE CONCEPTS, LLC,
                       Plaintiff.s-Appellees,

                                          V.

                  GOVERNOR, STATE OF FLORIDA, ET AL.,
                         Defendants-Appellants.

  Appeal from the United States District Court for the Northern District of Florida
                         No. 4:22-cv-227 (MW) (MAF)




         BRIEF FOR AMICUS CURIAE PEN AMERICAN CENTER




                                        Joel S. Perwin, Esq.
                                        1680 Michigan Ave
                                        Suite 700
                                        Miami Beach, FL 33139
                                        Tel. No.: 316814
                                        Email: jperwin@perwinlaw.com

                                        By:     Joel S. Perwin
                                                Fla. Bar No.: 316814




                               JOEi:. s. PERwIN. P.A.
     16BOMiDlllgmA.wmm,Sni1e700,Miam!Bcm:l!,Emiila33139•'11:1(305)779-61l50•~
USCA11 Case: 22-13135       Document: 30-1     Date Filed: 01/18/2023    Page: 2 of 21




              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT
       Pursuant to Fed. R. App. P. 26.1 and Eleventh Circuit Rule 26.1, the following

 persons have or may have an interest in the outcome ofthis case or appeal, in addition

 to those listed in Defendants-Appellants' and Plaintiff-Appellees' certificates:

    1. Agarwal, Shalini G., Attorney for Plaintiffs-Appellees

    2. Cepero, Monica, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

    3. Chimene-Weiss, Sara, Attorney for Plaintiffe-Appellees

    4. Cooper & Krrk, PLLC, Attorneys for Defendants-Appellants

    5. Cooper, Charles J., Attorney for Defendants-Appellants

    6. DeSantis, Ron, Governor of the State of Florida, Defendant-Appellant

    7. Farmer, Libby, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

    8. Florida Attorney General Service, Attorney for Defendant-Appellant Moody

    9. Garza, Mario, Commissioner ofthe Florida Commission on Human Relations,
       Defendant-Appellant

    10. Goodman, Rachel E., Attorney for Plaintiffe-Appellees

    11. Hallward-Driemeier, Douglas, Attorney for Plaintijfs-Appellees

    12. Hanson, Dawn, Commissioner of the Florida Commission on Human
        Relations, Defendant-Appellant

    13. Hart, Larry, Commissioner of the Florida Commission on Human Relations,
        Defendant-Appellant

    14. Honeyfund.com, Inc., Plaintiff-Appellee

                                        C 1 of3



                                JOELS.P!m.wIN, P.A.
      16BOMiol!!gmAvcmm,Slli1c7011,Miami:Bmu:l!,Emida33139•Tcl(31b")TB-61J30•~
USCA11 Case: 22-13135            Document: 30-1           Date Filed: 01/18/2023           Page: 3 of 21




    15. Joel S. Perwin, P.A., Counsel for Amicus Curiae

   16. Langford, John T., Attorney for Plaintiffs-Appellees

   17. Longo, Amy Jane, Attorney for Plaintiffs-Appellees

   18. Margulis, Sara, Declarant

    19. McBroom, Antonio, Declarant

   20. McGhee, Darrick, Senior Chair of the Florida Commission on Human
       Relations, Defendant-Appellant

   21. Moody, Ashley, Attorney General of the State of Florida, Defendant-
       Appellant

   22. Moye, Kenyatta, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

   23. Myrtetus, Vivian, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant
   24. Newhall, Timothy L., Attorney for Defendant-Appellant Moody
   25. Office of the Attorney General of the State of Florida, Attorneys for
       Defendants-Appellants

   26. Ohlendorf, John D., Attorney for Defendants-Appellants

    27. Orrin, Chevara, Plaintiff-Appellee and Declarant
    28. Payne, Pamela, Commissioner of the Florida Commission on Human
        Relations, Defendant-Appellant
    29. PEN America (PEN American Center), Amicus Curiae

    30. Perwin, Joel S., Counsel for Amicus Curiae

    31. Pichard, Jay, Commissioner of the Florida Commission on Human Relations,
        Defendant-Appellant


                                                 C2of3



                                      JOEL S. PERw!N, P.A.
     16BOlll!icblglillAvSllitc7011,MiamiBmmb,l'lmilla33139•Tul{311S)ffl-60911•.fpl:iwin@pemiD.com
USCA11 Case: 22-13135          Document: 30-1        Date Filed: 01/18/2023        Page: 4 of 21




    32. Primiano, Angela, Vice Chair and Commissioner of the Florida Commission
        on Human Relations, Defendant-Appellant

    33. Primo Partners III LLC, Parent Company ofPlaintiff-Appellee Primo Tampa
        LLC

    34. Primo Partners LLC, Parent Company ofPrimo Partners III LLC

    35. Primo Tampa LLC, Plaintiff-Appellee

    36. Protect Democracy, Attorneys/or Plaintiffe-Appellees

    37. Ramer, John D., Attorney for Defendants-Appellants

    38. Ropes & Gray, LLP,Attorneysfor Plaintiffe-Appellees

    39. Whitespace Consulting LLC d/b/a Collective Concepts LLC, Plaintiff-
        Appellee

    40. Wold, Megan M., Attorney for Defendants-Appellants


        Counsel for Amicus certifies thatAmicus Curiae PEN American Center has no

 parent corporations or any other publicly held corporations that own 10% or more of

 its stock.


                                             By: s/Joel S. Perwin




                                             C3 of3



                                    JOE£. S. PERwIN, P.A.
      l6BOMicblgunAvmmc,SB700.Mimllillmlcb,Emilla33W•lbl(305}ffl..fi!l50•jpl:IwiD@peminl
USCA11 Case: 22-13135              Document: 30-1          Date Filed: 01/18/2023          Page: 5 of 21




                                         TABLE OF CONTENTS

 CERTIFICATE OF INTERESTED PERSONS . . . . . . . . . . . . . . . . . . . . . . . . . Cl

 TABLE OF CONTENTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . i

 TABLE OF AUTHORITIES .......................................... ii

 INTEREST OF AMICUS CURIAE .................................... 1

 SUMMARY OF ARGUMENT ........................................ 1

 ARGUMENT ...................................................... 3

 I.      Free and open classroom discourse is foundational to academic
         freedom, a concept deeply rooted in First Amendment doctrine ......... 3

 IL      Educational Gag Orders are Chilling Speech across the Nation ......... 4

 III.    HB 7 Constrains Freedom of Inquiry in Violation of the First Amendment 8

 CONCLUSION .................................... ; .............. 12

 CERTIFICATE OF COMPLIANCE ................................... 13

 CERTIFICATE OF SERVICE ....................................... 14




                                                      i



                                        JOELS.PlmwIN,P.A.
        168DMillblganA:vmmc,Snm:7110,Mimn!Bcm:b,Emilla33U9•l'l:I(!IOJ)TB-®.911•~
USCA11 Case: 22-13135               Document: 30-1           Date Filed: 01/18/2023            Page: 6 of 21




                                   TABLE OF AUTHORITIES

Cases

Chandler v. James, 180 F.3d 1254 (11th Cir.1999) ....................... 10

Holloman ex rel. Holloman v. Harland, 370 F.3d _1252 (11th Cir. 2004) ...... 10

Honeyfand.com, Inc. v. DeSantis, 2022 WL 3486962
(N.D. Fla. Aug. 18, 2022) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2, 3

Keyishian v. Board ofRegents, 385 U.S. 589 (1967) ....................... 4

R.A.V. v. City ofSt. Paul, 505 U.S. 377, 392 (1992) ...................... 11

Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819 (1995) ....... 9

 Searceyv.Harris, 888F.2d 1314(11thCir.1989) ........................ 10

 Shelton v. Tucker, 364 U.S. 479 (1960) ................................. 4

 Sorrell v. IMS Health Inc., 564 U.S. 552 (2011) .......................... 9

 Stanley v. Georgia, 394 U.S. 557 (1969) ............................... 11

 Sweezy v. New Hampshire, 354 U.S. 234 (1957) .......................... 3

 Tinker v. United States, 393 U.S. 503 (1969) .......................... 8, 11

 United States v. Associated Press, 52 F. Supp. 362 (S.D.N.Y. 1943) .......... 4

 Statutes

 22 RS BR 69 (Ky., 2022) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

 Fla. Stat. Ann.§ 760.10(8) ....................................... 2, 4, 7

 Fla. Stat. § 1000.5 (2022) .......................................... 2, 4

 Other Authorities

 Allen, Joseph, "Education and Freedom in a Democracy." Bulletin ofthe American

                                                        ii



                                          JOE[. S. PERwIN, P.A.
        1680MiDl!lgm,lmm,c,Suim700,MiamiBG!ll:b,Hmiila33139•ll:1(305}77MOSO•jpl:Iwin@p!:Iwi.mm
USCA11 Case: 22-13135        Document: 30-1        Date Filed: 01/18/2023   Page: 7 of 21




Association of University Professors (1915-1955) 23, no. 7 (1937) ........... 2

Fernando, Christine, "Critical race theory bans are adding more anxiety to stressed
teachers: 'It's like walking a tightrope'," USA Today,'September 8, 2021 ....... 6

Hixenbaugh, Mike and Hylton, Antonia, "Southlake school leader tells teachers to
balance Holocaust books with 'opposing' views," NBC News, October 14, 2021 . 6

Knowles, Hannah, "Critical race theory ban leads Oklahoma college to cancel
class that taught 'white privilege'," The Washington Post, May 29, 2021 ....... 5

Morrow, Brendan, "Anti-critical race theory parents reportedly object to teaching
Ruby Bridges book," The Week, July 8, 2021 ............................. 6

PEN America, Index ofEducational Gag Orders (last updated January 6, 2023) . 5

Press Release, Florida Office ofthe Governor, Governor DeSantis Announces
Legislative Proposal to Stop W.O.K.E. Activism and Critical Race Theory in
Schools and Corporations (Dec. 15, 2021) .............................. 9

Vock, Daniel C., "GOP furor over 'critical race theory' hits college campuses,"
Iowa Capital Dispatch, July 3, 2021 .................................... 5

 Young, Jeremy C. and Friedman, Jonathan, America's Censored Classrooms
 (2022) ............................................................ 5

 Young, Jeremy C. and Friedman, Jonathan, Educational Gag Orders: Legislative
 Restrictions on the Freedom to Read, Learn, and Teach (2021) . . . . . . . . . . . . . . 8




                                             iii



                                  Jom.S.P.ERw!N.P.A.
      16BO~Snim700,Miam!Bcmm,Emida33139•lbl(.305)779-lill/lO•~
USCA11 Case: 22-13135       Document: 30-1      Date Filed: 01/18/2023    Page: 8 of 21




                         INTEREST OF AMICUS CURIAE 1

       With this brief, Amicus seeks to assist the court by outlining the enduring

 importance of free and open discourse in the K-12 and university settings,

 explaining the connection between the foreclosure of certain areas of inquiry and

 anti-democratic forms of government, and noting the deleterious effect of Florida

 House Bill 7 ("HB 7"), the law at issue in this appeal, on educators at all levels in

 the state of Florida.

       Amicus PEN America is a nonprofit, nonpartisan public-policy organization

 with an abiding interest in protecting free expression as the cornerstone of a robust

 and healthy democracy. PEN America celebrates free expression and fights for the

 freedom to read, learn, and teach, all core elements of democracy and free

 expression.


                              SUMMARY OF ARGUMENT

        Plaintiff-Appellees Honeyfund.com, Inc., Primo Tampa, Inc. and Chevara

 Orrin and Whitespace Consulting, LLC d/b/a Copective Concepts, LLC



 1No counsel for a party authored this brief in whole or in part, and no party or
 counsel for a party made a monetary contribution intended to fund the preparation
 or submission of this brief. No such monetary contributions were made by anyone
 other than amicus and their counsel.


                                           1
                                 Jom.S.P.ERw!N.P.A.
      16BO~Slli!c700,ildimn!Bmmb,l'!mida33139•ll:1(305}77S-li030•~
USCA11 Case: 22-13135       Document: 30-1       Date Filed: 01/18/2023     Page: 9 of 21




 ("Honeyfund") 2 are challenging Florida's House Bill 7, titled the "Individual

 Freedom Act" and referred to as the "Stop W.O.K.~. Act" ("HB 7"), enacted by

 the Florida legislature to address the substance of diversity, equity, and inclusion

 ("DEi") employee trainings conducted by or for public and private employers as

 well as the teaching or discussion of enumerated concepts, including issues of race

 and gender, in K-12 and university classrooms or settings. 3

       Government-imposed curtailment of topics addressed in the classroom

 undermines the principle of free and open discourse in education, long a

 democratic bellwether. 4 In this brief, Amicus outlines this principle and explains

 the ways in which HB 7 poses critical challenges to educators across Florida.




 2 Plaintiff-Appellees are employers and consultants who had provided, conducted,
 or planned to provide or conduct DEi trainings to or for employees, and whose
 trainings were suspended, altered, or canceled after the enactment ofHB 7.
 Honeyfundcom, Inc. v. DeSantis, 2022 WL 3486962 at *3, *4 (N.D. Fla. Aug. 18,
 2022)

 3Fla. Stat. Ann.§ 760.10(8); Fla. Stat. Ann.§ 1000.5(4) (West) (prohibiting, inter
 alia, "training, instruction, or any other required activity that espouses, promotes,
 advances, inculcates, or compels" an individual to believe subsequently listed
 concepts constitute "discrimination based on race, color, sex, or nation1/,l origin")

 4 Allen, Joseph, "Education and Freedom in a Democracy." Bulletin ofthe
 American Association of University Professors (1915-1955) 23, no. 7 (1937): 558-
 65, https://doi.org/10.2307/40219535 ("Education in a democracy ... must be
 conducted with a generous welcome to new ideas and methods [and] with
 tolerance for the opinions of others").


                                            2
                                 JOEL S.PERw!N, P.,P,_
      lfiBOMicl!lgm.mmm,,,Snm,700,MimniBcmlb,l'lmida33139•'.!l:1(303)779-li!l50•~
USCA11 Case: 22-13135           Document: 30-1      Date Filed: 01/18/2023     Page: 10 of 21




           HB 7 is currently preliminarily enjoined. 5 In the brief period that HB 7 was

 in effect, the law had a profound chilling effect on n9t only employers and entities

 such as Plaintiff-Appellees, but also on teachers, professors, administrators, and

 others in the state's education sphere.


                                         ARGUMENT


     I.    Free and open classroom discourse is foundational to academic
           freedom, a concept deeply rooted in First Amendment doctrine

           "No one should underestimate the vital role in a democracy that is played by

 those who guide and train our youth." So noted the U.S. Supreme Court nearly

 seven decades ago, continuing, "To impose any strait jacket upon the intellectual

 leaders in our colleges and universities would imperil the future of our Nation...

 Teachers and students must always remain free to inquire, to study and to evaluate,

 to gain new maturity and understanding; otherwise, our civilization will stagnate

 and die." Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957).

           The exploration of new ideas and concepts is a foundational aspect of the

 classroom environment. That instructors and students may engage in lines of

 inquiry free from government interference is long supported by free speech

 jurisprudence; it emphasizes that the First Amendment "does not tolerate laws that




 5   Honeyfund.com, 2022 WL 3486962 at* 15

                                                3
                                     JOEL S. PBRwIN, P.A.
          16BOllllmblg,mAvmmc,Sni!r;700.MimlliBmu:b,Hmida33139•llllf;I05}779-lill90•~
USCA11 Case: 22-13135        Document: 30-1      Date Filed: 01/18/2023    Page: 11 of 21




 cast a pall of orthodoxy over the classroom," Keyishian v. Board ofRegents, 385

 U.S. 589, 603 (1967), which is, in particular, the "m~ketplace of ideas." Id.

 (internal quotations omitted). This is tied inextricably to democratic norms,

 furthered via ''wide exposure to that robust exchange of ideas which discovers

 truth 'out of a multitude of tongues, [rather] than through any kind of authoritative

 selection."' Id. (quoting United States v. Associated Press, 52 F. Supp. 362,372

 (S.D.N.Y. 1943)). The furtherance of democratic norms in the form of"vigilant

 protection of constitutional freedoms" is most vital in the classroom. Shelton v.

 Tucker, 364 U.S. 479,487 (1960).


  II.    Educational Gag Orders are Chilling Speech across the Nation


         HB 7 sets out a set of eight concepts that may not be included in any

 "training or instruction" that "espouses, promotes, advances, inculcates, or

 compels" the concepts. The concepts are focused on race, color, sex, and national

 origin. 6 In limiting the teaching, explanation, or examination of particular

 sentiments, HB 7 is illustrative of recent legislative efforts across the U.S. to

 restrict teaching and training of particular topics, in K-12 schools, higher




 6   Id. at *1 (quoting Fla. Stat. Ann.§ 760.10(8)); Fla. Stat. Ann.§ 1000.5(4) (West)


                                             4
                                  Jam. S. PERwIN. P.A.
        l680Micb!gmil:vmml;Slli!c7011,MillmlBcaDb,Emida33W•llll(.31lj)77S-6D30•~
USCA11 Case: 22-13135       Document: 30-1     Date Filed: 01/18/2023     Page: 12 of 21




  education, state agencies and institutions, and workplace settings. Amicus refers to

 these bills as "educational gag orders." 7

        As of January 6, 2023, 210 educational gag orders had been introduced in 41

  states since January 2021. 8 Instances of these types ofbills being introduced grew

  250 percent between 2021 and 2022. 9 The chilling effect and silencing of speech in

  educational institutions due to these bills was almost immediate. In the first several

 months of 2021, educational gag orders were behind decisions to suspend a

  sociology course on race and ethnicity in Oklahoma, 10 provide professors at Iowa

  State University written guidance for how to avoid 'drawing scrutiny' for their

 teaching under their state's Act, 11 instruct teachers that they s~ould balance having


  7Young, Jeremy C. and Friedman, Jonathan, Educational Gag Orders: Legislative
  Restrictions on the Freedom to Read, Learn, and Teach (2021),
  https://pen.org/report/educational-gag-orders/ ("Educational Gag Orders")

  • PEN America, Index ofEducational Gag Orders (last updated January 6, 2023),
  https://docs.google.com/spreadsheets/d/1Tj5WQVBmB6SQg-
  zP_M8uZsQQGH09TxmBY73v23zpyr0/edit#gid=l 07383712 (cataloging bills
  from 41 states introduced between January 1, 2021 and January 6, 2023)

  • Young, Jeremy C. and Friedman, Jonathan, America's Censored Classrooms
  (2022), https://pen.org/report/americas-censored-classrooms/

  10Knowles, Hannah, "Critical race theory ban leads Oklahoma college to cancel
  class that taught 'white privilege'," The Washington Post, May 29, 2021,
  https://www.washingtonpost.com/education/2021/05/29/oklahoma-critical-race-
  theory-ban/
  11Vock, Daniel C., "GOP furor over 'critical race theory' hits college campuses,"
  Iowa Capital Dispatch, July 3, 2021,

                                          5
                                 JOELS.PERwIN.P.A.
       16BO~Slli!c700,MiamiBCilllb,l'Imida33139•ll:1(303)77S-6050•~
USCA11 Case: 22-13135       Document: 30-1      Date Filed: 01/18/2023     Page: 13 of 21




 books on the Holocaust with those with "opposing views" in Texas, 12 and

 challenge the teaching of civil rights activist Ruby ~ridges' autobiographical

 picture book about school desegregation in Tennessee. 13 Entering the 2021-2022

 school year, teachers reported feeling nervous, anxious, and concerned about

 losing their jobs; shared anecdotes of school administrators seeking to change

 curricula; and noted their own efforts to alter their lessons, due to the enactment of

 these bills or even administrative "scare tactics" that lack legal teeth but

 nonetheless cast a long shadow over the classroom. 14

        As the sweeping introduction of educational gag orders continues across the

 country, harsher provisions of fines, penalties, and private cau~es of action have

 become more commonplace. Several bills impose civil or criminal penalties-in


 https://iowacapitaldispatch.com/2021/07/03/gop-furor-over-critical-race-theory-
 hits-college-campuses/

   Hixenbaugh, Mike and Hylton, Antonia, "Southlake school leader tells teachers
  12

 to balance Holocaust books with 'opposing' views," NBC News, October 14, 2021,
 https://www.nbcnews.com/news/us-news/southlake-texas-holocaust-books-
 schools-rcna2965

   Morrow, Brendan, "Anti-critical race theory parents reportedly object to teaching
  13

 Ruby Bridges book," The Week, July 8, 2021,
 https://theweek.com/news/1002407/anti-critical-race-theory-parents-reportedly-
 object-to-teaching-ruby-bridges-book
  14Fernando, Christine, "Critical race theory bans are ai:lding more anxiety to
  stressed teachers: 'It's like walking a tightrope'," September 8, 2021,
  https://www.usatoday.com/story/news/education/2021/09/08/critical-race-theory-
  bans-stress-history-teachers/5618345001/?gnt-cfr=1


                                             6
                                 Jom. S.l?ERw!N, P.A.
       1680Michlg,m,ll,mml;Snm,701),.Miamll!cm:b,Emida33139•Tu1(305)779-60llll•~
USCA11 Case: 22-13135               Document: 30-1           Date Filed: 01/18/2023            Page: 14 of 21




 Kentucky, for example, proposed penalties are up to $100,000. 15 At least nine bills,

 including HB 7, 16 allow for a private cause of action: In the education sphere, such

 a provision essentially deputizes parents and students to surveil their teachers; for

 example, at least one state, New Hampshire, has set up a webpage to enable

 reporting. 17 Other states have similarly styled bill language, such as a South

 Carolina proposal to install telephone hotlines open for the public to report a

 teacher who runs afoul of a prohibition on providing " instruction, presentations,

 discussions, counseling, or materials" to students on certain topics, or "omits

 relevant and important context" from a lesson. 18

          Educational gag orders seek to use state power to exert i~eological control

 over educational institutions, imposing government dictates on teaching and

 learning, and as such, appear designed to chill academic and educational

 discussions of topics that the state disfavors. The bills' vague, sweeping language,

 particularly when coupled with potential imposition of civil and/or criminal



 15   22 RS BR 69, §(3)(c) (Ky., 2022)

 16   Fla. Stat. Ann. § 760.10 (2022)
 17https://www .education.nh.gov/who-we-are/deputy-commissioner/office-of-
 govemance/right-to-freedom-from-discrimination (presenting guidance for "Filing
 a Public Education Intake Questionnaire")

 18H 4605, 124 th Legislative Session (S.C., 2021-2022), available at
 https://www.scstatehouse.gov/sess 124 2021-2022/bills/4605.htm


                                                        7
                                          JOEL S. P.ERwlN, P.A.
         1630 Michigan ~vcmu; SB 70DsMiamiBcacb, Hmlda33139• 1bl (305) 779-«190 • jpr.n9iD@pmvinl.com
USCA11 Case: 22-13135         Document: 30-1       Date Filed: 01/18/2023    Page: 15 of 21




 penalties, necessarily means that they will be applied broadly in an effort to avoid

 running afoul of their measures. This threatens to effectively ban a wide swath of

 literature, curricula, and historical materials, and casts a chilling effect over how

 the bills' target institutions and their personnel discharge their primary obligations.

 The embrace of these bills demonstrates a disregard for academic freedom and the

 values of free speech and open inquiry that are enshrined in the First Amendment

 and that anchor a democratic society.

           Like HB 7, the current swath of educational gag orders target discussions of

 race, racism, gender, and American history, banning a series of"prohibited" or

 "divisive" concepts. 19 Yet permitting a precedent of the use or the machinery of

 government in attempts to limit Americans' ability to express themselves-and

 particularly in order to block the expression of information, ideas, or theories-by

 no means ensures such efforts will be limited to the current concepts of focus.


 III.      BB 7 Constrains Freedom of Inquiry in Violation of the First
           Amendment

           Classrooms in the United States "may not be confined to the expression of

 those sentiments that are officially approved." Tinker v. United States, 393 U.S.

 503, 511 (1969). Moreover, the prohibition of a particular opinion is not permitted

 under the Constitution, without evidence that dissemination of the opinion is



  19   Young, Jeremy C. and Friedman, Jonathan, Educational Gag Orders (2021)

                                               8
                                   Jam. S. PERwIN. P.A.
         16B0ll/limJlgmlAvmmSllilc700,Miam!Bcm;b,Emitla33139•'ll:l(.305)77S-6030•~
USCA11 Case: 22-13135        Document: 30-1      Date Filed: 01/18/2023    Page: 16 of 21




 "necessary to avoid material and substantial interference with schoolwork or

 discipline." Id.

          Under either of the above tenets, HB 7 fails constitutional muster. The law

 limits the teaching, explanation, or examination of particular sentiments, while

 simultaneously allowing those sentiments to be condemned. Further, the State's

 reasoning for implementing this legislation is viewpoint-, not schoolwork- or

 discipline-based. To wit, the State seeks with the bill "to fight back against woke

 indoctrination" 20 and to "put an end to wokeness that is permeating our schools and

 workforce," 21 illustrating the State's focus on a particular set of viewpoints.

          Viewpoint discrimination is particularly offensive to thf: First Amendment,

 as the Supreme Court has repeatedly held. Rosenberger v. Rector and Visitors of

  Univ. of Va., 515 U.S. 819 (1995) ("Discrimination against speech because of its

 message is presumed to be unconstitutional."); Sorrell v. IMS Health Inc., 564 U.S.

 552, 578-79 (201 l)("The State may not burden the speech of others in order to tilt

 public debate in a preferred direction.") This court, too, has noted that censorship



 20Press Release, Florida Office ofthe Governor, Governor DeSantis Announces
 Legislative Proposal to Stop W. O.K.E. Activism and Critical Race Theory in
 Schools and Corporations (Dec. 15, 2021), quoting Gpvernor Ron DeSantis,
 https://www.flgov.com/2021/12/15/governor-desantt~-announces-legislative-
 proposal-to-stop-w-o-k-e-activism-and-critical-race-tqeory-in-schools-and-
 corporations/

 21   Id., quoting Lieutenant Governor Jeanette Nunez

                                             9
                                  JOELS.PERw!N,P.A.
        16BO~Sllifll700,Miam!Bcm:b,Flmida3313.9•lhl(.303)779-lill90•~
USCA11 Case: 22-13135            Document: 30-1           Date Filed: 01/18/2023           Page: 17 of 21




 in the form of viewpoint discrimination is among the "most egregious" of First

 Amendment violations. Holloman ex rel. Holloman y. Harland, 370 F.3d 1252,

 1279-80 (11th Cir. 2004)(citing Chandler v. James, 180 F .3d 1254, 1265 (11th

 Cir.1999)("viewpoint discrimination[ ][is] the most egregious form of content-

 based censorship") and Searcey v. Harris, 888 F.2d 1314, 1324 (11th

 Cir.1989)("The prohibition against viewpoint discrimination is firmly embedded in

 first amendment analysis.")).

       HB Ts viewpoint discrimination is plain and cannot survive any level of

 constitutional scrutiny. Under HB 7, teachers in Florida are prohibited from

 sharing their insights and expertise with their students on the eight banned topics if

 they fail to adopt the preferred view of the state. In the district court, the state of

 Florida admitted that one of the banned concepts is, in essence, the concept of

 affirmative action. That means that teachers could not explain that concept of

 affirmative action or cite to any existing research or scholarship that explain the

 positive impacts of affirmative action. On the other hand, they could criticize its

 historic use to achieve racial equity in academic settings. Beyond teachers, the law

 also reaches anyone who would come to the classroom to share their perspectives

 from speaking in support of the eight banned concepts. That would mean that a

 school could not organize or host an event in which Charlie Christ, the Democratic

 candidate for Governor of Florida in 2022, and Gov. Ron DeSantis debate


                                                10
                                       Jom.S.P!mw!N.P.A.
      161!0Micllll!8]lAvcnm;Sllill,700,.MlamiBcm:lb,Emida33139•ll:1(303}TB-lill.90•jp!:min@pmwin!l
USCA11 Case: 22-13135        Document: 30-1       Date Filed: 01/18/2023      Page: 18 of 21




 affirmative action, because the state has decided that Christ's support for

 affirmative action cannot be spoken aloud in a schoql setting.

       In enacting HB 7, the state of Florida seeks "to license one side of a debate

 to fight freestyle, while requiring the other to follow Marquis of Queensbury

 rules." R.A. V. v. City ofSt. Paul, 505 U.S. 377, 392 (1992). If the state cannot do

 that when prohibiting fighting words, as the Supreme Court held in R.A. V., it

 cannot do so when regulating classroom discussions.

       To make matters worse, HB 7 also infringes on students' right to receive

 information. The Supreme Court has long recognized that the First Amendment, in

 addition to ensuring the right to speak, also ensures the right t<? receive

 information. Stanley v. Georgia, 394 U.S. 557, 564 (1969). By eliminating certain

 viewpoints on important topics from the classroom, HB 7 denies students the

 ability to receive a wide array of ideas that will help them best participate in

 society in violation of their constitutional right to become acquainted with a

 diversity of viewpoints. It also inhibits their ability to share and to speak in the

 classroom setting about their lived experience and their own research if it diverges

 from the state's approved script, in contravention of the Supreme Court's decision

 in Tinker.




                                             11
                                  Jam. S.PER:w!N, P.A.
      16BOll®lblganAmmc,5Dill:700.MiamiBcacl!,l'.lmilla33139•lblf;!OS}779-fi!l.911•~
USCA11 Case: 22-13135       Document: 30-1       Date Filed: 01/18/2023     Page: 19 of 21




                                        CONCLUSION


       For the foregoing reasons, Amicus urges this Court to affirm the District Court.

       Dated: January 18, 2023                    Respectfully submitted,

                                                    s/Joel S. Perwin
                                                   Joel S. Perwin
                                                   Fla. Bar No.: 316814
                                                   Joel S. Perwin, P.A.
                                                   1680 Michigan Ave., Suite 700
                                                   Miami Beach, FL 33139
                                                   Tel.: (305) 779-6090
                                                   Email: jperwin@perwinlaw.com
                                                   Counsel for Pen America




                                              12
                                 JOBI. S. P.ERwIN, P.A.
      16110Ill!ichlganAvoum,,Slli!c700,Mimn!B=b,l'Imida33139•lbl(3115}77S.(ID90•~
USCA11 Case: 22-13135      Document: 30-1        Date Filed: 01/18/2023   Page: 20 of 21




                         CERTIFICATE OF COMPLIANCE

       I hereby certify pursuant to Federal Rule of Appellate Procedure 32(g)(l)

 that the attached brief is proportionally spaced, has a typeface of 14 points, and

 contains 2,375 words.



                                                   s/Joel S. Perwin
                                                     Joel S. Perwin




                                            13
                                JOEi:. S. PERwIN. P.A.
      16BO~Suile7011,Miamll3mich,Emilla3313.9•'.lbl(.30S)77!J-6090•~
     USCA11 Case: 22-13135         Document: 30-1         Date Filed: 01/18/2023       Page: 21 of 21



                                      CERTIFICATE OF SERVICE

            I, Joel S. Perwin, counsel for Amicus Curiae and a member of the Bar of this

      Court, certify that on January 18, 2023, a copy of the foregoing was filed

11    electronically through the appellate CM/ECF system with the Clerk of the Court.

      Participants in the case are registered CM/ECF users, and service will be

      accomplished by the appellate CM/ECF system.



                                                             s/.foel S. Perwin
                                                               Joel S. Perwin




                                                     14
                                         JOEi:. s. PERw1N. P.A.
           16B0Micl!lganAnnnc,Sm700,Miam!Bmml!,Emida33139•Tul(.3115}'17S-6D90•jpmwin@pmwinlaw
